                                                                             FILED
                                                                          DEC 1 6 2015
                      UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA            JULIE RICSTIJ()HNSTON, ClERk
                                                                     BY US DIS     ~· EONC
                            SOUTHERN DIVISION                          ---".LL..- OEPCIJ(




UNITED STATES OF AMERICA

          v.                         CRIMINAL INFORMATION

ALEXIS DAWN JOHNSON

    The United States Attorney charges that:
                                Count One

   On or about October 24, 2015, in the Eastern District of North

Carolina, at Marine Cor.ps Base, Camp Lejeune,         North Carolina, a

place within the special maritime and territorial jurisdiction of

the Unj.ted States, the Defendant, ALEXIS DAWN JOHNSON, d.J.d operate

a motor vehicle upon a street, highway, or public vehicular area

while under the influence of an impairing substance, and with an

alcohol   conc~ntration   of   .08 or greater at s relevant time after
driving, to wit:    an alcohol concentration of .11, all in violation

of North Carolina General Statute, Section 20-138.1, as assimilated

by the provisions of Title 18, United States Code, Section 13.

                                Count Two

   On or about October 24, 2015, in the Eastern District of North

Carolina, at Marine Corps Base, Camp Lejeune, a place within the

special maritime and territorial jurisdiction of the dnited States,
the Defendant, ALEXIS DAWN JOHNSON, did knowingly and unlawfully
drive a motor vehicle on a highway or public vehicular area without
due caution and     circumspec~ion   J.n   a manner   that   did or could


       Case 7:15-mj-01195-RJ Document 1 Filed 12/16/15 Page 1 of 2
endanger other persons, in that the defendant drove her vehicle at

high rates of speed, to wit: 70 in a 35 mph zone, in violation of

North Carolina General Statute, Section 20-140(b), as assimilated

by the provisions of Title 18, United States Code, Section 13.



                                 THOMAS G. WALKER
                                 United States Attorney



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                                          HER J. NASSAR
                                 Special Assistant U.S. Attorney
                                 Criminal Division




        Case 7:15-mj-01195-RJ Document 1 Filed 12/16/15 Page 2 of 2
